       Case 6:20-cv-00585-ADA Document 137-1 Filed 02/06/23 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

                                               §
                                               §
  WSOU INVESTMENTS, LLC d/b/a,                 §
    BRAZOS LICENSING AND                       §
        DEVELOPMENT                            §        Civil Case No. 6:20-cv-585-ADA
                                               §
                   Plaintiff,                  §          JURY TRIAL DEMANDED
                      v.                       §
                                               §
             GOOGLE LLC,                       §
                                               §
                   Defendant.                  §
                                               §
___________________________________
                                DECLARATION OF BRANDON ERVIN

       I, Brandon Ervin, a fact witness in the above-captioned action have been informed of and

understand that:

       1. WSOU Investments, LLC d/b/a Brazos License and Development (“WSOU”) and

           Google LLC (“Google”) may take my deposition pursuant to Federal Rules of Civil

           Procedure.

       2. During the deposition, I may be assisted by my own counsel.

       3. I currently live and work in Switzerland, and will voluntarily appear at the Swiss offices

           of Quinn Emanuel at Dufourstrasse 29, 8008 Zurich, Switzerland or, if required, at

           another location in the canton of Zurich, Switzerland, for the purpose of this deposition.

       4. I am not obligated to appear and participate in the deposition and cannot be subjected to

           any coercive measures.

       5. By being deposed in the canton of Zurich, Switzerland, I have been apprised that I have

           rights under Swiss law.
        Case 6:20-cv-00585-ADA Document 137-1 Filed 02/06/23 Page 2 of 2




       6. At any time during examination, I may invoke any right or duty to refuse testimony under

           Swiss Law. I understand that my rights to refuse testimony are set out in particular in

           Articles 165-166 of the Swiss Code of Civil Procedure.

       7. At any time during examination, I may also invoke any right or duty to refuse testimony

           under U.S. Law. In particular, I understand that I am entitled to refuse to answer any

           question pertaining to/or which may invoke attorney-client privilege and/or attorney

           work-product.

       8. The Swiss Commissioner in this matter, Olivier Buff, with address at Quinn Emanuel

           Urquhart Sullivan (Schweiz) GmbH, Dufourstrasse 29, 8008 Zurich, Switzerland, will

           serve as my agent of service (“Domizilhalter”) in Switzerland in this matter. Thus, any

           correspondence from the US or Swiss authorities may validly be delivered to Olivier

           Buff, and he will then forward to me.

       In view of the above, I hereby consent to having my deposition taken in the above-captioned

matter by oral examination in the English language under oath, recorded by video and stenography,

at a date to be determined.

       I confirm that I am cooperating of my own accord.



 DATED: _____________________                          _________________________________
                                                       BRANDON ERVIN




                                                   2
